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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION
IN RE:                                       §       CASE NO. 23-32956-H4-13
James Leon Pereira                           §
                                             §
                                             §
DEBTOR                                       §       CHAPTER 13
                         MOTION TO EXTEND AUTOMATIC STAY

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE
MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21
DAYS OF THE DATE THIS MOTION WAS SERVED ON YOU. YOUR RESPONSE
MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT
FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT
REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE
PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:
     Comes now James Leon Pereira, Debtor, and filed this Motion to Extend Automatic Stay
and would respectfully show as follows:
       1. Debtor filed previous bankruptcy case number 22-33595-H4-13. The previous case

          was pending within one year of the filing date of this case. Debtor seeks to extend the

          Section 362 stay in this case and shows the Court that this case is filed in good faith.

       2. In the previous case, the Chapter 13 Trustee filed a Motion to Dismiss on 2/7/2023.

          See Doc. No. 25. The Trustee's Motion to Dismiss alleged failure to make required

          payments and appear at meeting of creditors as grounds for dismissal.

       3. The Court granted the Trustee's Motion to Dismiss by order signed on 5/15/2023. See

          Doc. No. 45.

       4. Debtor filed the instant bankruptcy proceeding on 8/1/2023.
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5. Debtor did attend the reset meeting of creditors in his last case but was unable to

   make Chapter 13 plan payments in the previous case because his wage order was not

   deducting. Debtor did not understand that he had to send in the payments that were

   not deducted. Due to a miscommunication with his prior counsel not all documents

   were timely provided and debtor’s case was dismissed before he could catch up on his

   payments.

6. Since the dismissal of the previous case, Debtor has obtained new counsel. Debtor

   understands he must make payments every month until they are deducted from his

   wages. Debtor is in touch with his counsel and prepared to provide any additional

   signatures or paperwork that is required in his case. Debtor's current income will

   allow Debtor to successfully complete this Chapter 13 plan.

7. Debtor filed this bankruptcy proceeding in good faith so Debtor may protect his

   homestead, reorganize his debts, and receive a discharge.

8. The automatic stay should be extended as to all creditors on the basis that Debtor

   filed this case in good faith to complete the Chapter 13 plan. The change in Debtor's

   financial circumstances evidences Debtor's ability to make all plan payments as

   required.

9. The automatic stay should be extended as to the secured creditors listed on Schedule

   D. Debtor's homestead is necessary to an effective reorganization.

10. The automatic stay should be extended as to Debtor's priority and general unsecured

   creditors listed on schedules E and F. Were these creditors not stayed during the term

   of this bankruptcy proceeding, the collection efforts would impair Debtor's ability to

   successfully complete this Chapter 13 Plan.
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       11. To the extent that the stay was lifted in a previous case as to any real property still in

          Debtor's possession, Debtor requests the automatic stay be imposed pursuant to 11.

          U.S.C. § 362(b)(20).

       Premises considered, Debtor requests that the Court grant this Motion to Extend

Automatic Stay. A form of Order is submitted with this motion.


                                      Respectfully submitted,
                                      THE KEELING LAW FIRM

                                      /s/Kenneth A. Keeling
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                                 CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing Motion to Extend Automatic
Stay has been served on all parties by electronic service or by United States First Class Mail on
August 4, 2023, as follows:
UNITED STATES TRUSTEE
United States Trustee
515 Rusk, Ste. 3516
Houston, TX 77002
CHAPTER 13 TRUSTEE
David G. Peake
9660 Hillcroft Suite 430
Houston, TX 77096
DEBTOR
James Leon Pereira
910 Vista Bend Dr.
Houston, TX 77073
CREDITORS
ACS Primary Care Phys SW        Barclays Mortgage Trust          Barret Daffin Frappier Turner &
PA                              2021-NPL1                        Engel,
PO Box 1123                     c/o Gregory Funding LLC          4004 Belt Line Rd Ste. 100
Minneapolis, MN 55440-1123      PO Box 230579                    Addison, TX 75001
                                Tigard, OR 97281

Harris County                   HARRIS COUNTY MUD            Hoover Slovacek LLP
Ann Harris Bennett - Tax        11111 Katy Freeway Suite 725 c/o Curtis W. McCreight
Assessor                        Houston TX 77079             Galleria Tower II
P. O. Box 3547                                               5051 Westheimer, Suite 1200
Houston, Tx 77253-3547                                       Houston, TX 77056

Internal Revenue Service        Northview HOA                    Paramount Capital Group
Centralized Insolvency          921 Northacre Drive              Attn: Bankruptcy
Operation                       Houston, TX 77073                PO Box 62406
P.O. Box 7346                                                    King of Prussia, PA 19406
Philadelphia, PA 19101-7346

Perdue, Brandon, Fielder,    SPRING INDEPENDENT
Collins & Mott               SCHOOL DISTRICT
c/o Melissa E. Valdez        PO BOX 90458
1235 North Loop West Ste 600 HOUSTON TX 77290
Houston, TX 77008
                                      /s/Kenneth A. Keeling
                                      Kenneth A. Keeling
